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  AO 245A (Rev. 12/03) Judgment of Acquittal


                                    UNITED STATES DISTRICT COURT

                           Middle              DISTRICT OF                     Alabama

          UNITED STATES OF AMERICA
                                                         JUDGMENT OF ACQUITTAL


                SYLVESTER VAUGHN
                                                         CASE NUMBER: 2:09CR3 1-MEF-Ol




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature of

MARK E. FULLER, CH EF U.S. DISTRICT JUDGE
Name and Title of Judge

                       December 16, 2009
                                  Date
